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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 1:21-cr-00046-RDM
                                              :
BRADY KNOWLTON and                            :
                                              :
PATRICK MONTGOMERY,                           :
                                              :
                       Defendants             :


                                   JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendants Brady Knowlton and Patrick Montgomery by and through

their attorneys, Ronald S. Sullivan Jr., T. Brent Mayr, Camille Wagner, and Duncan P. Levin, now

submit this joint status report, requested by the Court at the last status hearing on March 22, 2022.

   1. At the last hearing, the government discussed the state of discovery in this matter. Since

that hearing, the government has made two additional global productions, and has made all prior

global productions available on the defense instances of Relativity and Evidence.com. At this

juncture, over 34,000 documents and over 24,000 video files have been disclosed to the defense

in global discovery.

   2. On April 1, 2022, Duncan P. Levin entered his appearance on behalf of Mr. Montgomery.

Soon thereafter, prior counsel, Dani Jahn, withdrew from representing Mr. Montgomery.

   3. On April 18, 2022, the government produced to Mr. Levin the Montgomery-specific

discovery that was previously disclosed to prior counsel and all previous global productions.

   4. In the near future, the government expects to make additional global productions, which

should include, inter alia, the scoped results of additional search warrants conducted on other
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Capitol Siege defendant’s electronic devices and social media accounts, recorded custodial

interviews of Capitol Siege defendants, and additional materials in the custody and control of the

FBI that may be relevant to the defendants.

    5. The government is willing to continue discussions regarding disposition of this matter with

counsel for Mr. Montgomery given his recent appearance in the case.                 The government

understands that Mr. Knowlton anticipates rejecting the plea offer extended to Mr. Knowlton at

the next status conference in this matter.

    6. Given counsel for Mr. Montgomery’s recent appearance in the case as well as his need to

review the discovery recently produced, and possible re-entry into plea negotiations, counsel for

Mr. Montgomery asks for an additional 60 days to work towards a resolution in this matter. If the

parties have reached a decision regarding disposition of this matter, the parties will notify the Court

prior to this date.

    7. Mr. Knowlton does not agree to waive speedy trial and intends to ask that the case be

scheduled for trial. The government also requests that the cases be scheduled for trial.

    8. The government and Mr. Montgomery are in agreement that, due to outstanding discovery

and ongoing plea negotiations, the ends of justice would be served by exclusion of time under The

Speedy Trial Act until the next status date before this Court. Mr. Montgomery waives his rights

under the Speedy Trial Act and agrees to the exclusion of time for the period from today’s status

report date through the next status conference date. The government requests that a status

conference be set in 60 days so that the parties may appear, in person or remotely, and personally

inform the Court of any outstanding issues and to schedule a trial date.



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    9. The government requests that the Speedy Trial Act be tolled until the next status conference

date for both defendants in order for the government to continue producing voluminous discovery

and to engage in plea discussions with Mr. Montgomery. The time should be excluded under the

Speedy Trial Act in the interests of justice, pursuant to 18 U.S.C. § 3161(h)(7)(A). In addition,

the government requests that time be excluded under the Speedy Trial Act which permits exclusion

of time in cases involving co-defendants. See United States v. Johnson, Criminal No. 21-0332

(PLF) (Jul. 29, 2021), 2021 U.S. Dist. LEXIS 141329, 2021 WL 3207044 (D.D.C.) citing United

States v. Saro, 24 F.3d 283, 292, 306 U.S. App. D.C. 277 (D.C. Cir. 1994) (“an exclusion

applicable to one defendant applies to all codefendants”). Mr. Montgomery has agreed to exclude

time until the next status conference, has just started reviewing voluminous discovery, and is

engaged in plea discussions. Pursuant to 18 U.S.C. § 3161(h)(7)(A), the government requests that

the Court set forth, in the record of the case, either orally or in writing, its reasons for finding that

the ends of justice served by the granting of such continuance outweigh the best interests of the

public and the defendant in a speedy trial.


                                                Respectfully submitted,


                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY
                                                D.C. Bar No. 481052

                                                By:    /s/ James D. Peterson
                                                James D. Peterson
                                                Special Assistant United States Attorney
                                                Bar No. VA 35373
                                                United States Department of Justice
                                                1331 F Street N.W. 6th Floor
                                                Washington, D.C. 20530

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                            Desk: (202) 353-0796
                            Mobile: (202) 230-0693
                            James.d.peterson@usdoj.gov

                            Elizabeth C. Kelley
                            Assistant United States Attorney
                            United States Attorney’s Office
                            D.C. Bar No. 1005031
                            601 D Street, N.W.
                            Washington, DC 20001
                            Elizabeth.Kelley@usdoj.gov
                            (202) 252-7238

                            COUNSEL FOR BRADY KNOWLTON

                            RONALD SULLIVAN LAW, PLLC

                            by: /s/ Ronald S. Sullivan Jr.
                            RONALD S. SULLIVAN JR.
                            D.C.D.C. Bar ID 451518
                            rsullivan@ronaldsullivanlaw.com
                            1300 I Street NW
                            Suite 400 E
                            Washington, DC 2005
                            Tel: (202) 935-4347
                            Fax: (617) 496-2277
                            ATTORNEY FOR BRADY KNOWLTON
                            MAYR LAW, P.C.

                            by: /s/ T. Brent Mayr
                            T. BRENT MAYR
                            Texas State Bar Number 24037052
                            D.C. Bar ID TX0206
                            bmayr@mayr-law.com
                            5300 Memorial Dr., Suite 750
                            Houston, TX 77007
                            Tel: (713) 808-9613
                            Fax: (713) 808-9613
                            ATTORNEY FOR BRADY KNOWLTON


                            by: /s/ Camille Wagner
                            WAGNER PLLC

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                            CAMILLE WAGNER
                            DC Bar No. 1695930
                            law@myattorneywagner.com
                            1629 K Street NW, Suite 300
                            Washington, DC 20006
                            (202) 630-8812
                            ATTORNEY FOR BRADY KNOWLTON

                            By: Duncan P. Levin
                            TUCKER LEVIN, PLLC
                            230 Park Avenue
                            Suite 440
                            New York, NY 10169
                            212-330-7626
                            Email: dlevin@tuckerlevin.com
                            ATTORNEY FOR PATRICK MONTGOMERY




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